
USCA1 Opinion

	













        September 23, 1996      [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
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        No. 96-1452

                                 KEVIN ROBERT JAMES,

                                Plaintiff, Appellant,

                                          v.

                                 ROCK WELCH, ET AL.,

                                Defendants, Appellees.

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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. Morton A. Brody, U.S. District Judge]
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                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
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                                 ____________________

            Kevin Robert James on brief pro se.
            __________________
            Christopher C.  Taintor and Norman, Hanson  &amp; Detroy  on brief for
            _______________________     ________________________
        appellees.


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                      Per   Curiam.      Plaintiff's  papers,   liberally
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            construed, could be  read as complaining about both  the type

            of   dental  treatment   supplied   (e.g.,  fillings   versus

            extraction) and the delay in furnishing it.  It is clear from

            plaintiff's appellate brief that  he is no longer challenging

            the decision to save  his teeth rather than to  extract them,

            and  plaintiff  has  instead   redirected  his  focus  on  an

            allegedly  unconstitutional  delay  in furnishing  treatment.

            His complaint,  however, failed   to  allege  that the  named
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            defendants  were  responsible  for  the  delay.    In  short,
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            plaintiff failed adequately to allege deliberate indifference

            on the part of the  named defendants.  The magistrate-judge's

            report alerted  plaintiff to the deficiency  in general terms

            and,  effectively,  afforded  plaintiff  an   opportunity  to

            supplement his pleadings.  When plaintiff's objections to the

            magistrate-judge's report failed to cure the  deficiency, the

            court  did  not  abuse   its  discretion  in  dismissing  the

            complaint.   See Purvis v.  Ponte, 929 F.2d  822, 826-27 (1st
                         ___ ________________

            Cir.  1991) (upholding     1915(d) dismissal  of a  factually

            inadequate complaint where plaintiff failed,  despite notice,

            to remedy the omissions).

                 Plaintiff   contends  he   should  have   been  afforded

            discovery.  We  disagree.  Plaintiff failed  to allege enough

            to warrant  discovery.  Plaintiff  claimed to have  copies of

            his  medical  request slips  and  responses to  them,  yet he



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            failed to state, for  example, to whom he reported  his pain,

            when, and what the response (or lack of response) was. 

                 Affirmed.  Loc. R. 27.1.
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